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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


LAUREN ADELE OLIVER,

                Plaintiff,

v.                                                        Case No. 1:20-CV-00237-KK-SCY


MEOW WOLF, INC., a Delaware
Corporation; VINCE KADLUBEK,
An individual and officer; and
DOES 1-50,

                Defendants.

          ORDER EXTENDING DEADLINE TO FILE JOINT STATUS REPORT

         THIS MATTER having come before the Court upon the parties Joint Motion to Extend

Deadline to File Joint Status Report. Doc. 152. This Court having considered the Motion and

being otherwise fully advised in the premises and for good cause shown, FINDS that it is well

taken.

         IT IS HEREBY ORDERED that the new deadline for the parties to file their Joint Status

Report is June 11, 2021.



                                            ___________________________________
                                            UNITED STATES MAGISTRATE JUDGE
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